                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-143
 v.                                                    )
                                                       )       COLLIER / LEE
 DEVERIA MCCALL                                        )


                              REPORT AND RECOMMENDATION


        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on July 17, 2013. At

 the hearing, defendant moved to withdraw her not guilty plea to Count One of the seven-count

 Superseding Indictment and entered a plea of guilty to Count One of the Superseding Indictment,

 in exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find the defendant is fully capable and competent to enter

 an informed plea; the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; the defendant understands the nature of the charge

 and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Count

 One of the Superseding Indictment be granted, her plea of guilty to Count One of the Superseding

 Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth in Count One

 of the Superseding Indictment, and a decision on whether to accept the plea agreement be deferred

 until sentencing. Defendant's bond was revoked and I further RECOMMEND defendant remain




Case 1:12-cr-00143-TRM-SKL           Document 224          Filed 07/19/13      Page 1 of 2     PageID
                                           #: 481
 in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance

 of the plea agreement, and imposition of sentence are specifically reserved for the district judge.


                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




                                                   2


Case 1:12-cr-00143-TRM-SKL            Document 224         Filed 07/19/13      Page 2 of 2      PageID
                                            #: 482
